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                                                                          January 15, 2024


By ECF and Facsimile

The Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

        Re:            Kristi Jordan v. Crunch, LLC, No. 1:24-cv-7118
                       Unopposed Letter Motion Seeking Leave to file Amended Motion to Compel and
                       for Entry of Briefing Schedule

Dear Judge Hellerstein:

        The parties jointly submit this letter on behalf of Defendant, Crunch, LLC (“Crunch”) and
Plaintiff Kristi Jordan in the above-referenced action.

        As referenced in Plaintiff’s submission yesterday, the parties have met and conferred
regarding Crunch’s Motion to Compel Arbitration and Stay Proceedings and accompanying
filings, ECF Nos. 18-20 (collectively, the “Motion”), and Plaintiff’s request to take limited
discovery relating to certain contract formation issues relevant to the Motion. In the course of the
parties’ meet and confer efforts, Crunch determined that the form of membership agreement
attached to and referenced in the Motion was inadvertently a form used in 2024, not 2023, when
Plaintiff signed up for her Crunch membership. Crunch has produced the 2023 form of the
membership agreement to Plaintiff, and the parties have met and conferred regarding the filing of
an amended Motion, and the discovery sought by Plaintiff. The parties have negotiated and agreed
on a schedule for the discovery requested by Plaintiff and the briefing of the Motion.

         The parties are mindful of the Court’s Order yesterday regarding Plaintiff’s response
deadline, and respectfully submit that there is good cause for the entry of the proposed schedule.
The parties respectfully note that, in Plaintiff’s prior submission to the Court in December, they
had contemplated the possibility that Plaintiff would seek limited discovery relating to certain
contract formation issues in the Motion. The parties respectfully submit that it would be in the
interests of judicial economy and preserve the Court and parties’ resources to (1) allow Crunch to
file its amended Motion, so the 2023 version of the membership agreement that Crunch contends
Plaintiff agreed to is presented with the Motion, and (2) allow the parties to complete the limited

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discovery they have negotiated before their briefing is completed, so that any factual disputes
relating to the Motion are presented to the Court in a single set of briefing.

       The parties thus jointly request that the Court enter the following schedule for discovery
and briefing relating to the Motion:

                       Event                                            Deadline
 Defendant files       amended Motion and                              January 17
 memoranda of          law (with supporting
 declarations)
 Plaintiff serves written        discovery     (as                     January 24
 negotiated by the parties)
 Defendant responds to written discovery (as                           February 5
 negotiated by the parties)
 Parties to resolve open discovery issues and                        February 6 - 28
 complete one deposition (via Zoom)
 Plaintiff’s Opposition to Defendant’s Motion                           March 14
 Defendant’s Reply in support of Motion                                 March 28


         Thank you for the Court’s attention to this matter.


                                               Respectfully submitted,

                                               /s/ Ian M. Ross
                                               Ian M. Ross

                                               Counsel for Crunch, LLC


                                               /s/ Tyler Somes
                                               Tyler Somes

                                               Counsel for Kristi Jordan


cc:      Counsel of record (via ECF)
